Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 1 of 24        PageID #: 394




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

  JIMMY L. STEWARD,          )
                             )
           Plaintiff,        )
                             )
  v.                         ) CASE NO. 1:20-CV-00538-TFM-MU
                             )
  BUC-EE’S ALABAMA, LLC,     )
  UNIFIRST CORPORATION,      )
  LAWRENCE LEVINSON,         )
  LAWRENCE LEVINSON AS AN )
  AGENT OF BUC-EE’S ALABAMA, )
  LLC,                       )
                             )
           Defendants.       )

                      PLAINTIFF’S AMENDED COMPLAINT



  1.    Plaintiff, Jimmy L. Seward (hereinafter referred to as “Plaintiff”), is an

  individual over the age of nineteen (19) years and is a resident of Baldwin County,

  State of Alabama.

  2.    Defendant Buc-ee’s Alabama, LLC (hereinafter referred to singularly as

  “Defendant Buc-ee’s,” or together with other Defendants as “Defendants”), is a

  Foreign Limited Liability Company formed in the State of Delaware and

  headquartered in the State of Texas. All members of Defendant Buc-ee’s Alabama

  LLC are domiciled in the State of Texas.
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 2 of 24          PageID #: 395




  3.    Defendant Unifirst Corporation (hereinafter referred to singularly as

  “Defendant Unifirst” or together with other Defendants as “Defendants”), is a

  Foreign Corporation formed and headquartered in the State of Massachusetts.

  4.    Defendant Larry Levinson (hereinafter referred to singularly as “Defendant

  Levinson” or together with other Defendants as “Defendants”), is a licensed architect

  domiciled in the State of Texas.

  5.    On or about the 16th day of September 2020, Plaintiff was a business invitee

  of Defendant Buc-ee’s located at 20403 County Road 68, Robertsdale, Alabama

  36567, and was there to purchase Barbecue sandwiches for himself and some of his

  family members.

  6.    Defendant Unifirst was responsible for providing adequate matting for

  Defendant Buc-ee’s floors to provide the necessary safety required to Buc-ee’s

  customers.

  7.    Defendant Buc-ee’s relied on Defendant Levinson in both his professional

  capacity as a licensed architect and in his capacity as an agent of Buc-ee’s to shop,

  purchase, and install safety flooring in its 204 County Road 68, Robertsdale,

  Alabama 36567 location.

  8.    Defendant Buc-ee’s has unsafe flooring installed and used by its invitees in

  its 204 County Road 68, Robertsdale, Alabama 36567 location.




                                          -2-
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 3 of 24          PageID #: 396




  9.     On this occasion, Defendants negligently and/or wantonly caused, permitted,

  allowed, or created a dangerous condition to exist on the premises in the form of

  unsafe flooring, and/or a combination of inadequate matting, water, other debris, and

  unsafe flooring. Defendant Buc-ee’s had actual notice and/or had constructive notice

  of this condition and failed to exercise reasonable care to the maintenance of its

  premises, thereby negligently and/or wantonly failing to discover and remove this

  condition. Defendant Buc-ee’s controlled, owned, and maintained the said premises.

  10.    By failing to keep and maintain its premises free and clear of potentially

  hazardous conditions of which Defendants were aware or should have known

  through their inspection of the premises for said hazardous conditions, Plaintiff’s

  slip and fall was the proximate consequence of the afore-described negligence and/or

  wantonness.



  11.    Defendants had actual or constructive notice and/or were delinquent in not

  discovering and removing the hazardous condition, and were negligent and/or

  wanton in allowing or affirmatively creating a hazard by allowing the hazardous

  condition to remain in the area in question which was in the path of invitees of the

  Defendant Buc-ee’s; further, Defendants were negligent and/or wanton in creating a

  hazardous condition in the path of invitees and did not provide adequate warning to

  Plaintiff.



                                          -3-
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 4 of 24             PageID #: 397




  12.   As a proximate and direct result of Defendants’ wrongful conduct as

  specifically set forth hereinafter, Plaintiff has been injured and damaged as follows:

  a.    Plaintiff suffered injuries to various portions of plaintiff’s body including but

  not limited to his head, neck, and back;

  b.    Plaintiff was caused and will be caused in the future to expend sums of money

  like doctor, hospital, drug any other medical expenses in and about an effort to heal

  and cure said injuries;

  c.    Plaintiff has experienced and continues to experience pain and suffering and

  is reasonably certain to experience pain and suffering in the future;

  d.    Plaintiff was temporarily and potentially permanently unable to pursue usual

  and normal activities;

  e.    Plaintiff was caused to incur aggravation and/or exacerbation to then-existing

  conditions that Plaintiff either did or did not know of at the time of this incident;

  f.    Plaintiff has experienced and continues to experience mental anguish;

  g.    Plaintiff is reasonably certain to experience mental anguish in the future;

  h.    Plaintiff was caused to incur out-of-pocket medical expenses; and

  i.    Plaintiff was caused to suffer both past and future lost wages, loss of income,

  loss of earning capacity, and lost employment benefits;

  j.    Plaintiff was caused to suffer a cracked skull, bleeding on the brain, multiple

  and daily seizures with permanent and traumatic brain damage.



                                             -4-
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 5 of 24            PageID #: 398




               COUNT I – NEGLIGENCE DEFENDANT BUC-EE’S

  13.    Plaintiff hereby re-alleges and re-avers all of the allegations contained in the

  preceding paragraphs of this Complaint the same as if here again set out in both letter

  and number.

  14.    On or about the 16th day of September 2020, Plaintiff was an invitee of

  Defendant Buc-ee’s located at 20403 County Road 68, Robertsdale, Alabama 36567,

  when Plaintiff suffered a fall due to unsafe floors, inadequate matting, and/or a

  combination of unsafe floors inadequate matting, other debris, and water.

  15.    Defendant Buc-ee’s negligently caused or allowed Plaintiff to be injured on

  their premises as they failed to keep and maintain its premises to be free and clear

  of potentially hazardous conditions. Defendant Buc-ee’s had actual or constructive

  notice and/or were delinquent in not discovering and removing the hazardous

  condition and were negligent and/or wanton in affirmatively creating a hazard or not

  warning their invitees of the said hazardous condition that was situated in a

  dangerous area and/or location since it was located in an area that was regularly

  traveled by invitees. Further, Defendant Buc-ee’s was negligent in failing to warn

  Plaintiff of this dangerous condition that existed on their premises that was a hazard

  to their invitees.

  16.    As a proximate and direct result of Defendant Buc-ee’s wrongful conduct as

  specifically set forth hereinafter, Plaintiff has been injured and damaged as follows:



                                           -5-
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 6 of 24             PageID #: 399




  a.    Plaintiff suffered injuries to various portions of plaintiff’s body including but

  not limited to his head, neck, and back;

  b.    Plaintiff was caused and will be caused in the future to expend sums of money

  like doctor, hospital, drug any other medical expenses in and about an effort to heal

  and cure said injuries;

  c.    Plaintiff has experienced and continues to experience pain and suffering and

  is reasonably certain to experience pain and suffering in the future;

  d.    Plaintiff was temporarily and potentially permanently unable to pursue usual

  and normal activities;

  e.    Plaintiff was caused to incur aggravation and/or exacerbation to then-existing

  conditions that Plaintiff either did or did not know of at the time of this incident;

  f.    Plaintiff has experienced and continues to experience mental anguish;

  g.    Plaintiff is reasonably certain to experience mental anguish in the future;

  h.    Plaintiff was caused to incur out-of-pocket medical expenses; and

  i.    Plaintiff was caused to suffer both past and future lost wages, loss of income,

  loss of earning capacity, and lost employment benefits;

  j.    Plaintiff was caused to suffer a permanent traumatic brain injury.

       WHEREFORE, premises considered, Plaintiff respectfully demands judgment

  against Defendants, jointly and severally, for compensatory and punitive damages,




                                             -6-
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 7 of 24             PageID #: 400




  in an amount, including interest and the costs of this action, which Plaintiff seeks to

  recover, to be assessed by the trier of fact for all claims under this lawsuit.



                COUNT II – RECKLESSNESS AND WANTONNESS

                               DEFENDANT BUC-EE’S

  17.   Plaintiff hereby re-alleges and re-avers all of the allegations contained in the

  preceding paragraphs of this Complaint the same as if here again set out in both letter

  and number.

  18.   On or about the 16th day of September 2020, Plaintiff was an invitee of

  Defendant Buc-ee’s located at 20403 County Road 68, Robertsdale, Alabama 36567,

  when Plaintiff suffered a fall due to unsafe floors, inadequate matting, and/or a

  combination of unsafe floors inadequate matting, other debris, and water.

  19.   Defendant Buc-ee’s recklessly and/or wantonly caused or allowed Plaintiff to

  be injured at their establishment by failing to keep and maintain its premises in a

  manner to be free and clear of potentially hazardous conditions and to warn its

  invitees of the aforementioned conditions.

  Defendant Buc-ee’s had actual or constructive notice and/or were delinquent in not

  discovering and removing the hazardous condition and were wanton in creating a

  hazard of an unsafe floor, not providing adequate matting, and allowing debris and

  water to remain on the floor in the path of invitees of the store and were wanton in



                                            -7-
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 8 of 24             PageID #: 401




  affirmatively creating a hazard of allowing an unsafe floor, not providing adequate

  matting, and allowing debris and water to remain on a route regularly used by its

  invitees in a location that would likely lead to harm to its invitees due to the location

  of the hazard.

  20.    Defendant Buc-ee’s recklessly and/or wantonly caused or allowed the hazard

  at issue in this lawsuit to be placed or to remain in a regularly used area of travel in

  a location that was dangerous and likely to cause injury to its invitees, and did cause

  injury to Plaintiff.

  21.    As a proximate and direct result of Defendants’ wrongful conduct as

  specifically set forth hereinafter, Plaintiff has been injured and damaged as follows:

  a.     Plaintiff suffered injuries to various portions of plaintiff’s body including but

  not limited to his head, neck, and back;

  b.     Plaintiff was caused and will be caused in the future to expend sums of money

  like doctor, hospital, drug any other medical expenses in and about an effort to heal

  and cure said injuries;

  c.     Plaintiff has experienced and continues to experience pain and suffering and

  is reasonably certain to experience pain and suffering in the future;

  d.     Plaintiff was temporarily and potentially permanently unable to pursue usual

  and normal activities;




                                             -8-
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 9 of 24             PageID #: 402




  e.    Plaintiff was caused to incur aggravation and/or exacerbation to then-existing

  conditions that Plaintiff either did or did not know of at the time of this incident;

  f.    Plaintiff has experienced and continues to experience mental anguish;

  g.    Plaintiff is reasonably certain to experience mental anguish in the future;

  h.    Plaintiff was caused to incur out-of-pocket medical expenses; and

  i.    Plaintiff was caused to suffer both past and future lost wages, loss of income,

  loss of earning capacity, and lost employment benefits;

  j.    Plaintiff was caused to suffer a permanent traumatic brain injury.

        WHEREFORE, premises considered, Plaintiff respectfully demands judgment

  against Defendants, jointly and severally, for compensatory and punitive damages,

  in an amount, including interest and the costs of this action, which Plaintiff seeks to

  recover, to be assessed by the trier of fact for all claims under this lawsuit.

         COUNT III – PREMISES LIABILITY DEFENDANT BUC-EE’S

  22.   Plaintiff hereby re-alleges and re-avers all of the allegations contained in the

  preceding paragraphs of this Complaint the same as if here again set out in both letter

  and number.

  23.   On or about the 16th day of September 2020, Plaintiff was an invitee of

  Defendant Buc-ee’s located at 20403 County Road 68, Robertsdale, Alabama 36567,

  when Plaintiff suffered a fall due to unsafe floors, inadequate matting, and/or a

  combination of unsafe floors, inadequate matting, other debris, and water.



                                            -9-
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 10 of 24          PageID #: 403




  24.   Defendant Buc-ee’s negligently, recklessly, and/or wantonly caused or

  allowed a hazard to remain in an area that was used by its invitees.

  25.   At the aforesaid time and place, Defendant Buc-ee’s were the owners or

  lessees of the property and as such had a duty and responsibility to provide Plaintiff

  a safe place as an invitee. Further, if any defects in their owned or leased premises

  existed, Defendant Buc-ee’s had the duty to warn its invitees of hazards of which it

  knew or should have known that was not easily discoverable by the invitees.

  Defendant Buc-ee’s negligently, wantonly, recklessly and/or willfully breached

  these duties by failing to provide Plaintiff with a safe place as in invitee and by

  failing to warn the Plaintiff of the hazard and/or defect which were encountered

  which was known to Defendant Buc-ee’s or which Defendant Buc-ee’s negligently

  failed to detect in their use, operation and maintenance of and upon the premises.

  Said negligent, wanton, reckless, and/or willful conduct was a proximate cause of

  Plaintiff’s injuries and damages.

  26.   Defendant Buc-ee’s was the owner or lessee of the property at issue and, as

  such, Defendant Buc-ee’s had the right to and did control the conditions, methods,

  and manner in which the premises was inspected, maintained, and configured.

  Defendant Buc-ee’s also controlled the inspecting and maintaining of said invitee

  areas and Defendant Buc-ee’s is also responsible for establishing patterns and routes

  for its invitees to walk and/or travel around and about the premises at the time and



                                          - 10 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 11 of 24           PageID #: 404




  place of the occurrence made the basis of Plaintiff’s complaint. Defendant Buc-ee’s

  negligently and/or wantonly caused or allowed Plaintiff to be injured as a result of

  the breach of the duties that the aforementioned Defendants owed to Plaintiff in

  causing or allowing the premises upon which Plaintiff was injured to be

  unreasonably hazardous or by ignoring the present hazard or creating the hazard by

  their process of organizing, cleaning, polishing, etc. Defendant Buc-ee’s negligently,

  wantonly, recklessly, and/or willfully failed to properly control the conditions,

  methods, and manner in which the floor was maintained and presented to the invitees

  for their use in ambulating and/or traveling about the store as invitees moved about

  the premises and said negligent, wanton, reckless and/or willful conduct was a

  proximate cause of Plaintiff’s injuries and damages.

  27.     Plaintiff avers that Defendant Buc-ee’s negligently, wantonly, recklessly,

  purposely, intentionally, willfully, or by design caused injury to Plaintiff. Defendant

  Buc-ee’s negligently, wantonly, recklessly and/or willfully caused or allowed the

  hazardous condition to foreseeably remain in one of the main travel areas, and failed

  to remedy the hazardous situation and/or address the unreasonably dangerous area,

  and Defendant Buc-ee’s had actual knowledge of the hazardous condition or said the

  hazardous condition had existed for such an unreasonable length of time to create a

  presumption of knowledge of such hazardous area on the part of Defendant Buc-

  ee’s.



                                           - 11 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 12 of 24           PageID #: 405




  28.   At the aforesaid time and place, Defendant Buc-ee’s did negligently,

  wantonly, and/or willfully cause or negligently, wantonly and/or willfully allow

  Plaintiff to be injured.

  29.   Defendant Buc-ee’s negligently, wantonly, and/or willfully failed to warn

  Plaintiff of the dangers associated with the potentially hazardous area to eliminate

  the possibility of said Plaintiff being injured, and said negligent, wanton, and/or

  willful conduct was a proximate cause of Plaintiff’s injuries as described herein.

  30.   Plaintiff alleges that the injuries and damages were caused as a proximate

  consequence of the negligent, willful, and/or wanton conduct and other wrongful

  conduct of Defendant Buc-ee’s.

  31.   The aforesaid wrongful, negligent, willful, and/or wanton conduct of each of

  the above-described Defendants combined and concurred, and as a proximate cause

  thereof, Plaintiff was caused to be severely injured.

  32.   As a proximate and direct result of Defendants’ wrongful conduct as

  specifically set forth hereinafter, Plaintiff has been injured and damaged as follows:

  a.    Plaintiff suffered injuries to various portions of plaintiff’s body including but

  not limited to his head, neck, and back;

  b.    Plaintiff was caused and will be caused in the future to expend sums of money

  like doctor, hospital, drug any other medical expenses in and about an effort to heal

  and cure said injuries;



                                             - 12 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 13 of 24             PageID #: 406




  c.    Plaintiff has experienced and continues to experience pain and suffering and

  is reasonably certain to experience pain and suffering in the future;

  d.    Plaintiff was temporarily and potentially permanently unable to pursue usual

  and normal activities;

  e.    Plaintiff was caused to incur aggravation and/or exacerbation to then-existing

  conditions that Plaintiff either did or did not know of at the time of this incident;

  f.    Plaintiff has experienced and continues to experience mental anguish;

  g.    Plaintiff is reasonably certain to experience mental anguish in the future;

  h.    Plaintiff was caused to incur out-of-pocket medical expenses; and

  i.    Plaintiff was caused to suffer both past and future lost wages, loss of income,

  loss of earning capacity, and lost employment benefits;

  j.    Plaintiff was caused to suffer a permanent traumatic brain injury.

       WHEREFORE, premises considered, Plaintiff respectfully demands judgment

  against Defendants, jointly and severally, for compensatory and punitive damages,

  in an amount, including interest and the costs of this action, which Plaintiff seeks to

  recover, to be assessed by the trier of fact for all claims under this lawsuit.

            COUNT IV – NEGLIGENT, RECKLESS, AND WANTON

                    SUPERVISION AND TRAINING BUC-EE’S




                                           - 13 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 14 of 24           PageID #: 407




  33.   Plaintiff hereby re-alleges and re-avers all of the allegations contained in the

  preceding paragraphs of this Complaint the same as if here again set out in both letter

  and number.

  30.   On or about the 16th day of September 2020, Plaintiff was an invitee of

  Defendant Buc-ee’s located at 20403 County Road 68, Robertsdale, Alabama 36567,

  when Plaintiff suffered a fall due to unsafe floors, inadequate matting, and/or a

  combination of unsafe floors, inadequate matting, other debris, and water.

  31.   Defendant Buc-ee’s was under an obligation and duty to train and supervise

  its employees to properly inspect the foreseeably accessible areas for their invitees

  so that there are no dangerous conditions that were not readily discoverable to their

  invitees.

  32.   Defendant Buc-ee’s negligently, wantonly, and recklessly failed to properly

  train employees to inspect and to keep the property and/or premises free and clear

  of dangerous conditions. Defendant Buc-ee’s failure to properly train its employees

  directly resulted in Plaintiff’s injuries as described herein.

  33.   As a proximate and direct result of Defendant Buc-ee’s wrongful conduct as

  specifically set forth hereinafter, Plaintiff has been injured and damaged as follows:

  a.    Plaintiff suffered injuries to various portions of plaintiff’s body including but

  not limited to his head, neck, and back;




                                             - 14 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 15 of 24             PageID #: 408




  b.    Plaintiff was caused and will be caused in the future to expend sums of money

  like doctor, hospital, drug any other medical expenses in and about an effort to heal

  and cure said injuries;

  c.    Plaintiff has experienced and continues to experience pain and suffering and

  is reasonably certain to experience pain and suffering in the future;

  d. Plaintiff was temporarily and potentially permanently unable to pursue usual and

  normal activities;

  e.    Plaintiff was caused to incur aggravation and/or exacerbation to then-existing

  conditions that Plaintiff either did or did not know of at the time of this incident;

  f.    Plaintiff has experienced and continues to experience mental anguish;

  g.    Plaintiff is reasonably certain to experience mental anguish in the future;

  h.    Plaintiff was caused to incur out-of-pocket medical expenses; and

  i.    Plaintiff was caused to suffer both past and future lost wages, loss of income,

  loss of earning capacity, and lost employment benefits;

  j.    Plaintiff was caused to suffer a permanent traumatic brain injury.

       WHEREFORE, premises considered, Plaintiff respectfully demands judgment

  against Defendants, jointly and severally, for compensatory and punitive damages,

  in an amount, including interest and the costs of this action, which Plaintiff seeks to

  recover, to be assessed by the trier of fact for all claims under this lawsuit.




                                            - 15 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 16 of 24           PageID #: 409




               COUNT V – NEGLIGENCE DEFENDANT UNIFIRST

  34.   Plaintiff hereby re-alleges and re-avers all of the allegations contained in the

  preceding paragraphs of this Complaint the same as if here again set out in both letter

  and number.

  35.   On or about the 16th day of September 2020, Plaintiff was an invitee of

  Defendant Buc-ee’s located at 20403 County Road 68, Robertsdale, Alabama 36567,

  when Plaintiff suffered a fall due to unsafe floors, inadequate matting, and/or a

  combination of unsafe floors, inadequate matting, other debris, and water.

  36.   Defendant Unifirst negligently caused or allowed Plaintiff to be injured by

  failing to provide adequate matting for the use of Defendant Buc-ee’s to keep its

  invitees safe.

  37.   Defendant Unifirst negligently caused or allowed Plaintiff to be injured by

  improperly instructing Defendant Buc-ee’s on floor matt size and floor matt

  placement.

  38.   As a proximate and direct result of Defendant Unifirst wrongful conduct as

  specifically set forth hereinafter, Plaintiff has been injured and damaged as follows:

  a.    Plaintiff suffered injuries to various portions of plaintiff’s body including but

  not limited to his head, neck, and back;




                                             - 16 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 17 of 24             PageID #: 410




  b.    Plaintiff was caused and will be caused in the future to expend sums of money

  like doctor, hospital, drug any other medical expenses in and about an effort to heal

  and cure said injuries;

  c.    Plaintiff has experienced and continues to experience pain and suffering and

  is reasonably certain to experience pain and suffering in the future;

  d.    Plaintiff was temporarily and potentially permanently unable to pursue usual

  and normal activities;

  e.    Plaintiff was caused to incur aggravation and/or exacerbation to then-existing

  conditions that Plaintiff either did or did not know of at the time of this incident;

  f.    Plaintiff has experienced and continues to experience mental anguish;

  g.    Plaintiff is reasonably certain to experience mental anguish in the future;

  h.    Plaintiff was caused to incur out-of-pocket medical expenses; and

  i.    Plaintiff was caused to suffer both past and future lost wages, loss of income,

  loss of earning capacity, and lost employment benefits;

  j.    Plaintiff was caused to suffer a permanent traumatic brain injury.

       WHEREFORE, premises considered, Plaintiff respectfully demands judgment

  against Defendants, jointly and severally, for compensatory and punitive damages,

  in an amount, including interest and the costs of this action, which Plaintiff seeks to

  recover, to be assessed by the trier of fact for all claims under this lawsuit.




                                            - 17 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 18 of 24           PageID #: 411




        COUNT VI – NEGLIGENCE DEFENDANT LEVINSON, AS AN

                     AGENT OF BUC-EE’S ALABAMA, LLC

  39.   Plaintiff hereby re-alleges and re-avers all of the allegations contained in the

  preceding paragraphs of this Complaint the same as if here again set out in both letter

  and number.

  40.   On or about the 16th day of September 2020, Plaintiff was an invitee of

  Defendant Buc-ee’s located at 20403 County Road 68, Robertsdale, Alabama 36567,

  when Plaintiff suffered a fall due to unsafe floors, inadequate matting, and/or a

  combination of unsafe floors, inadequate matting, other debris, and water.

  41.   Defendant Buc-ee’s gave Defendant Levinson, as an agent of Buc-ee’s

  Alabama, LLC, the authority to select, purchase, and install flooring at Defendant

  Buc-ee’s 20403 County Road 68, Robertsdale, Alabama 36567 location.

  42.   Defendant Levinson, as an agent of Buc-ee’s Alabama, LLC, negligently

  caused or allowed Plaintiff to be injured by designing, selecting, purchasing, and

  installing unsafe floors in Defendant Buc-ee’s 20403 County Road 68, Robertsdale,

  Alabama 36567 location.

  43.   As a proximate and direct result of Defendant Levinson, as an agent of Buc-

  ee’s Alabama, LLC, wrongful conduct as specifically set forth hereinafter, Plaintiff

  has been injured and damaged as follows:




                                           - 18 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 19 of 24             PageID #: 412




  a.    Plaintiff suffered injuries to various portions of plaintiff’s body including but

  not limited to his head, neck, and back;

  b.    Plaintiff was caused and will be caused in the future to expend sums of money

  like doctor, hospital, drug any other medical expenses in and about an effort to heal

  and cure said injuries;

  c.    Plaintiff has experienced and continues to experience pain and suffering and

  is reasonably certain to experience pain and suffering in the future;

  d.    Plaintiff was temporarily and potentially permanently unable to pursue usual

  and normal activities;

  e.    Plaintiff was caused to incur aggravation and/or exacerbation to then-existing

  conditions that Plaintiff either did or did not know of at the time of this incident;

  f.    Plaintiff has experienced and continues to experience mental anguish;

  g.    Plaintiff is reasonably certain to experience mental anguish in the future;

  h.    Plaintiff was caused to incur out-of-pocket medical expenses; and

  i.    Plaintiff was caused to suffer both past and future lost wages, loss of income,

  loss of earning capacity, and lost employment benefits;

  j.    Plaintiff was caused to suffer a permanent traumatic brain injury.

       WHEREFORE, premises considered, Plaintiff respectfully demands judgment

  against Defendants, jointly and severally, for compensatory and punitive damages,




                                             - 19 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 20 of 24             PageID #: 413




  in an amount, including interest and the costs of this action, which Plaintiff seeks to

  recover, to be assessed by the trier of fact for all claims under this lawsuit.

    COUNT VII – PROFESSIONAL LIABILITY DEFENDANT LEVINSON

  39.   Plaintiff hereby re-alleges and re-avers all of the allegations contained in the

  preceding paragraphs of this Complaint the same as if here again set out in both letter

  and number.

  44.   On or about the 16th day of September 2020, Plaintiff was an invitee of

  Defendant Buc-ee’s located at 20403 County Road 68, Robertsdale, Alabama 36567,

  when Plaintiff suffered a fall due to unsafe floors, inadequate matting, and/or a

  combination of unsafe floors, inadequate matting, other debris, and water.

  45.   Defendant Levinson is a licensed architect.

  46.   Defendant Levinson failed to act with reasonable care, failed to act with

  reasonable competence, and failed to apply the knowledge and skill which is

  ordinarily applied by architects of good standing, practicing in the same locality by

  designing, selecting, purchasing, and installing unsafe floors in Defendant Buc-ee’s

  20403 County Road 68, Robertsdale, Alabama 36567 location.

  47.   Defendant Levinson failed to take into account all applicable state and

  municipal building laws and regulations, specifically Ala. Admin. Code r. 100-X-

  7-.01 by designing, selecting, purchasing, and installing unsafe floors in Defendant

  Buc-ee’s 20403 County Road 68, Robertsdale, Alabama 36567 location.



                                            - 20 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 21 of 24            PageID #: 414




  48.   As a proximate and direct result of Defendant Levinson’s wrongful

  professional conduct as specifically set forth hereinafter, Plaintiff has been injured

  and damaged as follows:

  a.    Plaintiff suffered injuries to various portions of plaintiff’s body including but

  not limited to his head, neck, and back;

  b.    Plaintiff was caused and will be caused in the future to expend sums of money

  like doctor, hospital, drug any other medical expenses in and about an effort to heal

  and cure said injuries;

  c.    Plaintiff has experienced and continues to experience pain and suffering and

  is reasonably certain to experience pain and suffering in the future;

  d.    Plaintiff was temporarily and potentially permanently unable to pursue usual

  and normal activities;

  e.    Plaintiff was caused to incur aggravation and/or exacerbation to then-existing

  conditions that Plaintiff either did or did not know of at the time of this incident;

  f.    Plaintiff has experienced and continues to experience mental anguish;

  g.    Plaintiff is reasonably certain to experience mental anguish in the future;

  h.    Plaintiff was caused to incur out-of-pocket medical expenses; and

  i.    Plaintiff was caused to suffer both past and future lost wages, loss of income,

  loss of earning capacity, and lost employment benefits;

  j.    Plaintiff was caused to suffer a permanent traumatic brain injury.



                                             - 21 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 22 of 24             PageID #: 415




       WHEREFORE, premises considered, Plaintiff respectfully demands judgment

  against Defendants, jointly and severally, for compensatory and punitive damages,

  in an amount, including interest and the costs of this action, which Plaintiff seeks to

  recover, to be assessed by the trier of fact for all claims under this lawsuit.



                                           Respectfully Submitted,

                                           /s/ Brian A. Traywick
                                           Brian A. Traywick
                                           Bar Number: 6896O22L
                                           Attorney for Jimmy Steward
                                           SHUNNARAH TRIAL ATTORNEYS
                                           3626 Clairmont Avenue South
                                           Birmingham, Alabama 35222
                                           Phone: 205-203-4056
                                           Facsimile: 205-203-4057
                                           Email: btraywick@asilpc.com




                                           - 22 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 23 of 24   PageID #: 416




                              NOTICE OF SERVICE


  Defendants shall be served with this Complaint by certified mail and or
  electronic delivery at the locations below:

  Buc-ee’s, Ltd
  c/o James Rebarchak
  jrebarchak@joneswalker.com

  Lawrence Levinson, as an agent of Buc-ee’s Alabama, LLC
  2009 Potomac Drive
  Houston, Texas 77057

  Lawrence Levinson
  2009 Potomac Drive
  Houston, Texas 77057

  Unifirst Corporation
  c/o Prentice Hall Corporation System Inc.
  641 South Lawrence Street
  Montgomery, Alabama 36104




                                        - 23 -
Case 1:20-cv-00538-TFM-MU Document 28 Filed 07/07/21 Page 24 of 24   PageID #: 417




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

  JIMMY L. STEWARD,         )
                            )
           Plaintiff,       )
                            )
  v.                        ) CASE NO. 1:20-CV-00538-TFM-MU
                            )
  BUC-EE’S ALABAMA, LLC,    )
  UNIFIRST CORPORATION,     )
  LAWRENCE LEVISON,         )
  LAWRENCE LEVISON AS AN    )
  AGENT OF BUC-EE’S ALABAMA,)
  LLC,                      )
                            )
           Defendants.      )

                                  JURY DEMAND

        COMES NOW the Plaintiff, by and through his undersigned counsel of

  record, and hereby demands a trial by struck jury.

                                        Respectfully Submitted,

                                        /s/ Brian A. Traywick
                                        Brian A. Traywick
                                        Bar Number: 6896O22L
                                        Attorney for Jimmy Steward
                                        SHUNNARAH TRIAL ATTORNEYS
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                                         - 24 -
